        Case 1:24-cr-00291-LAK         Document 77        Filed 03/02/25    Page 1 of 7


                           LAW OFFICE OF SAM A. SCHMIDT
                                   29 BROADW AY SUITE 1412
                                     NEW YORK, N.Y. 10006
                                            (212) 346-4666
                                       facsimile (212) 346-4668
                                     e-mail lawschmidt@aol.com


Sam A. Schmidt, Esq.
__________________


                                                     March 2, 2025

Honorable Lewis A Kaplan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

               Re: United States v. Matthew Queen,
                    24 Cr. 291 (LAK)

Dear Honorable Judge Kaplan:

      This letter is submitted in response to the government’s letter received at
11:03 PM on February 26, 2025. This letter will correct the factual errors made in
the government’s submission and respond to some of its incorrect and inaccurate
assumptions and conclusions.

       The government chose not to address the background of the events set forth
in Dr. Queen’s submission that led to his wrongful conduct claiming it was “not
pertinent” to his culpability.1 Certainly it does not impact Dr. Queen’s criminal
responsibility for his criminal conduct but it does assist in understanding how a
person who has led a lawful and moral life, beloved by so many people he has
been in contact with, could act in such a foolish and unlawful manner. Dr.
Queen’s conduct resulted from a series of events and helps demonstrate that he
will never repeat such conduct again.

      As noted in the original submission and sealed documents, the level of
tension and fear was substantial at the Southwestern Baptist Theological Seminary

       1
         The government attempts to infer that Seminary staff believed that an “oral report” of
sexual abuse by a student was within the ambit of the subpoena. Subpoenas either request
personal appearance or documents, not conversations. Providing a copy of the subpoena would
resolve any question.

                                                1
       Case 1:24-cr-00291-LAK         Document 77       Filed 03/02/25     Page 2 of 7



(hereinafter “SWBTS”) as a result of various problems that included finances, the
lawsuit involving a prior president and the original investigation of all Southern
Baptist Convention entities by the government. The events relating to the
allegation of sexual abuse by a student simply added to it. Clearly, Dr. Queen was
impacted by it as noted in some letters submitted to Your Honor and discussed in
the original submission.

       The government incorrectly claimed that at the time of the service of the
subpoena in November 2022, Dr. Queen was the Interim Provost. (Government
Submission (hereinafter “GS”) at 1. He did not become the Interim Provost until
January 1, 2023. Approximately three weeks later, the administration, including
him, became aware of the arrest warrant for a student. Thus, his first significant
issue as interim Provost was a difficult and complex one.

       The government claims that the recommendation by the United States
Department of Probation that Dr. Queen receive a sentence of one year probation
is a variance. GS at 3. The undisputed offense level for Dr. Queen is 4, which is in
Zone A, and his criminal history category is I. Under U.S.S.G. §5B1.1(a)(1)(1),
probation is authorized if the applicable guideline range is in Zone A of the
Sentencing Table. It is. The minimum term of probation is one year. U.S.S.G. §
5B1.2(a)(1) and 18 U.S.C. § 3561(c).

        The government claims that “the defendant insists that his conduct had no
ill effect.” GS5. As to the police investigation into the sexual abuse allegations,
his conduct had no impact. As noted in the original submission, when Employee-1
spoke with the friend of the victim of the alleged sexual abuse, the Burleson Police
Department investigated the complaints, was prepared to go to a judge for a
warrant of arrest and the victim was being cared for.2 He was not even aware of
the allegation until after the alleged perpetrator was arrested on the warrant.3


       2
         Dr. Queen means no disrespect to the victim of the alleged abuse. Counsel uses the term
“alleged abuse” because the alleged perpetrator’s case was dismissed and as of today there has
been no grand jury action.
       3
         Dr. Queen’s conduct had nothing to do with the investigation and prosecution of the
complaint of sexual abuse by the Burleson police Department and the County’s District Attorney.
The only involvement he had relating to the student was in denying the student’s appeal of his
suspension. Nevertheless, media covering the Southern Baptist Convention has repeatedly
accused him of protecting abusers, often in vulgar terms.

                                               2
      Case 1:24-cr-00291-LAK            Document 77        Filed 03/02/25     Page 3 of 7



       Importantly, Dr. Queen recognizes that the Southern Baptist Convention,
including SWBTS, has had a history of covering up and minimizing sexual abuse
allegations. He opposes such cover-ups and has always supported victims of such
abuse. When the opportunity has arisen, he has acted on behalf of those who were
abused.

       The most recent time was this past Fall while on administrative leave from
Friendly Avenue Baptist church. A woman                        told his wife and
him about her experience. Both Dr. Queen and his wife explained to the woman
how important it was to report the abuse both for herself and the community. Dr.
Queen also noted that as a mandatory reporter his obligation was to report it if she
did not. After their discussion, the woman agreed to have them call the police on
her behalf, and both Matthew and Hope Queen stayed with her while she spoke to
a local police officer. Dr. Queen also gave other information to the police officer
and explained that, as a mandatory reporter, he was facilitating her report.

      In March 2023, one of Dr. Queen’s student came to him for counseling
because Dr. Queen was not just a professor but he also was a pastor. The student
recounted how he was abused by a partner, included sexual abuse, at another
college in a different State. Dr. Queen encouraged him to report the conduct to the
proper authorities in the other State and would assist him in any way to do so. See
Exhibit L.4

      Another example occurred in 2018-19 while he was a professor at SWBTS.
                                 Dr. Queen learned that during a youth trip outside
the country, the 18 year old son of the pastor had improper sexual contact with a
younger boy. The pastor also sought to help that son become a youth worship
leader at another church. The pastor tried to intimidate the younger boy’s mother
to keep the abuse secret.

      Dr. Queen spoke to the boy’s mother, apologized for the way the family
had been treated. Because the event occurred in a foreign country, reporting to the
authorities was not an option. However, the pastor was an adjunct professor at the
Seminary. Believing that such a man should not be teaching at the Seminary, Dr.
Queen met with the leadership of the Seminary. As a result, the mother was
contacted and she explained the circumstances. The pastor was fired mid-semester,


      4
          Because the nature of these events, documents relating to abuse will be filed under seal.

                                                 3
        Case 1:24-cr-00291-LAK         Document 77        Filed 03/02/25      Page 4 of 7



an unusual occurrence.5

       In mid-February 2023, an administrative employee reported to Dr. Queen
that one of his employees was told by a student that a SWBTS employee had
committed verbal, emotional, spiritual, physical, and sexual abuse against another
individual. Dr. Queen acted immediately and informed the President.




      Dr. Queen also sought assistance from his other administrators concerning
his obligations pursuant to the DOJ’s subpoena and whether law enforcement
should be contacted. Exhibit N.

       As to the government’s investigation into the document and what was said
to Employee-1, counsel characterized its impact as “not substantial.” The
government also claimed that the statement in his submission that he “corrected
his falsehood on his own... deeply misleading,” GS at 5, and “only came clean
about the events he actually witnessed—specifically the January 26, 2023 meeting
with Employee-1 and Employee-2—when he was brought to New York to testify
before the grand jury.” GS at 4. The initial conversations the government had with
potential witnesses was on May 22, 2023 and the government claims that lied
about what he remembered about the conversation.7 The grand jury presentation
was later scheduled for June 21, 2023.

       5
         Counsel spoke to the mother of the child who confirmed the account. Counsel also
spoke to Dr. Stewart, the professor who took over the course that the pastor was teaching. He
also confirmed the events.
       6
         An excerpt of the recording relating to this is Exhibit M that is provided separately
from the other exhibits. Should Your Honor wish the entire recording, counsel will make it
available.
       7
         At the May 22, 2023 interview, Dr. Queen was not asked about the notes. Both the
attorney representing him and the legal liaison with the government at SWBTS, Employee-3,
told Dr. Queen that he had to make available to the government all writing relating to sexual
abuse, including his notes. See Exhibit N.

                                                 4
       Case 1:24-cr-00291-LAK         Document 77       Filed 03/02/25      Page 5 of 7




       Two days after the initial conversation with the government Dr. Queen
spoke with the attorney representing him and told him that he remembered more of
what Employee-2 said to Employee-1.8 Exhibit O. That was before the
government informed the attorney by email that they wanted Dr. Queen and others
to travel to New York and would forward a grand jury subpoena for June 21, 2023.
Exhibit P. On June 1, 2023, the attorney communicated that information to the
government. Exhibit Q. Thus, the government’s statement when Dr. Queen
“came clean” is clearly wrong.9

       The government was able to proceed with its presentation to the grand jury
on June 21, 2023. Dr. Queen testified without immunity before the grand jury and
his testimony included more of what Employee-2 said. Dr. Queen was later
indicted, citing some of his testimony in the grand jury. Of course, Dr. Queen
does not contend that the above excuses his conduct, but it is not clear how Dr.
Queen’s conduct “dragged out the government’s investigation and distracted
“substantial” resources better spent elsewhere.10” GM at 5.




       8
         Exhibit O are the notes of the attorney Brian Poe for the May 25, 2023 conversation
with Dr. And Mrs. Queen that was subject of litigation.
       9
         The government stated that Dr. Queen testified that Employee-2's tone was "stern" and
serious" when he said to make the Document "go away" and
GS at 2. The grand jury transcript reflects that characterization was asked only about "go away"
and not the other. In fact, Employee-1 characterized the other statement as made in joking
manner. Exhibit R, 3513-05 page 2. No one has stated that Employee-2 ordered the document to
be destroyed.
       10
         As to the offense of conviction, lying about the date that the notes were written, the
notes were forwarded to the government in June 2023 and the originals given to them on June 20,
2023. The notes and report of S.A. McGuire for June 20, 2023 state that Dr. Queen told the
government it was written in April 2023, and admitted that he lied on June 21, 2023 because he
wrote the notes shortly before sending it by email to his attorney on May 26, 2023.

                                               5
      Case 1:24-cr-00291-LAK      Document 77     Filed 03/02/25   Page 6 of 7




Conclusion

       Matthew Queen does not claim his wrongful conduct was a singular event.
He did many things that were wrong but it was an exception to how he has led his
life. He lied to colleagues, moral wrongs for which he is apologetic, remorseful
and has repented. For the wrongs that were violations of law, he is equally
apologetic, remorseful and has repented. The government, by its errors,
misstatements and omissions leave an inaccurate portrayal of who Matthew Queen
and what he has done. He does not dispute what he did was wrong, but he is not
the devious and shrewd criminal that the government seeks to portray. He is,
indeed, the same man as described by so many who know and love him who has
made mistakes that he will never forget.

       If counsel’s objections seem petty, unnecessary or overdone, I apologize.
Counsel believes a fully accurate account of the background of the events is
important to understand how this kind, caring and decent person made mistakes.
We hoped that it made it clear that his intent had nothing to do with the
investigation into the sexual abuse allegations and that there was no intent to cause


      11




      12




      13
       Case 1:24-cr-00291-LAK      Document 77      Filed 03/02/25    Page 7 of 7



any suffering to anyone.

       The government seeks a sentence of supervision that includes home
confinement. If such a recommendation by the government had been made for any
of the hundreds of clients I have represented in federal court over the past forty
years, including a few before Your Honor, I would have been thrilled. For
Matthew Queen it is unnecessary. For the past eight months, he had limits placed
on his ability to fully perform his role as a pastor and it was necessary for him to
resign as a pastor at his church in November. For the past approximately four
months, he has been unable to seek employment for the job he loves and feels
blessed to do. If he is confined to his home, it will make it extraordinarily difficult
to seek a new position, visit those who seek his solace in their homes, in hospitals
or in their church. It will make it difficult for him to travel to other communities to
share his beliefs with others. It will present financial difficulties for his family, his
wife and two daughters. It is simply more than is necessary to satisfy the
sentencing goals under federal law.

      Thank you for Your Honor’s consideration.

                                                Sincerely yours,

                                                      /s/

                                                Sam A. Schmidt
                                                Attorney for Matthew Queen




                                            7
